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         Assistant United States Attorne
    3    Chief, Criminal Division                                  cEh, `-~-.--
                                                                    Y TRq~ pis;
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                                                                                             CAL,F~pN
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 8
         Attorneys for Plaintiff
    9    UNITED STATES OF AMERICA

10                                      UNITED STATES DISTRICT COURT

11              ~;.              FOR THE CENTRAL DIST~         ~~~O~J~
                                                                              dsl
1       UNITED STATES OF AMERICA,                   I   No.
               __=r   '_
13~,                     .P-laintiff,                   GOVERNMENT'S EX PARTE APPLICATION
                ~-                                      FOR ORDER SEALING ARREST WARRANT,
14              . m -- ...= ~  v.                       COMPLAINT AND SUPPORTING
                ~ ~,                                    AFFIDAVIT; MEMORANDUM OF POINTS
                 `:~   ~l
15      ~, JOHI~F`~SAF~4 BAI~'IAN,                      AND AUTHORITIES; DECLARATION OF
                                                        JEFF MITCHELL
16                         Defendant.
                                                        (UNDER SEAL)
17

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19              The government hereby applies ex parte for an order directing

20      that the complaint, supporting affidavit, and arrest warrant, in the

21      above-titled case, together with this ex parte application, the

22      memorandum of points and authorities, the declaration of Jeff

23      Mitchell, and this court's sealing order, be kept under seal until

24      the arrest of defendant.

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 1        This ex parte application is based upon the attached declaration

 2   of Jeff Mitchell.

 3   Dated: May 14, 2018                 Respectfully submitted,

 4                                       NICOLA T. HANNA
                                         United States Attorney
 5
                                         LAWRENCE S. MIDDLETON
 6                                       Assistant United States Attorney
                                         Chief, Criminal Division
 7

 8
                                         J F MIT~HELL
 9                                       A sistant Uni ed States Attorney

10                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
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     IMEMORAN'DUM OF POINTS AND AUTHORITIES
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           The government requests that this court seal the arrest warrant,
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     complaint, and supporting affidavit in this case in order to maintain
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     the integrity of this investigation.        Approval from this court to
 5   seal these documents is required under Local Rule 79-5.1.            The Court

 6   of Appeals for the Ninth Circuit has held that district courts have

 7   the inherent power to seal affidavits in support of warrants.            In re

 8   Sealed Affidavit (Agosto), 600 F.2d 1256 (9th Cir. 1979) (per

 9   curiam); see also Offices of Lakeside Non-Ferrous Metals, Inc., 679

10   F.2d 778 (9th Cir. 1982) (citing Agosto).

          The Court of Appeals for the Seventh Circuit has rejected the
11
     proposition that pre-indictment disclosure of a search warrant
12
     affidavit is required under either constitutional principles or
13
     Federal Rule of Criminal Procedure 41(g).         In re EyeCare Physicians
14
     of America, 100 F.3d 514 (7th Cir. 1996).         In doing so, the Seventh
15
     Circuit held:
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          By the very nature of a secret criminal investigation of
17
          this type, the target of an investigation more often than
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          not remains unaware of the specific grounds upon which a
19                                 If preindictment disclosure of sealed
          warrant was issued.
20        warrant affidavits was required to satisfy due process

21        (assuming there has been a predicate deprivation of life,

22        liberty or property), the hands of law enforcement would be

23        needlessly tied and investigations of criminal activity

24        would be made unduly difficult if not impossible.

25   Id. at 517.    Accord In re Grand Jury Proceedings, 115 F.3d 1240, 1247

     (5th Cir. 1997).
26
          Here, for the reasons described in the attached declaration,
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     sealing is necessary to maintain the integrity of the government's
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     investigation.   The government accordingly requests that the
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     documents described in the attached declaration be maintained under
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     seal until the arrest of defendant.
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 2                          DECLARATION OF JEFF MITCHELL

 3   I, Jeff Mitchell, declare as follows:

 4        1.   I am an Assistant United States Attorney in the United

 5   States Attorney's Office for the Central District of California.             I

 6 ~ am the attorney representing the government in this case.

 7        2.   The government requests leave to file the arrest warrant,

     complaint, and supporting affidavit in this case under seal.

 9        3.   Balian has not been taken into custody on the charge

10   contained in the complaint affidavit and has not been informed that

11   he is being named as a defendant in the complaint.         The likelihood of

12   apprehending Balian might be jeopardized if the affidavit in this

13   case was made publicly available before defendant is taken into

14   custody on the complaint.

15        4.   The government is attempting to locate Balian but his

16   current whereabouts are unknown.

17        5.   Accordingly, the government requests that the complaint,

18   arrest warrant, and affidavit in support of the complaint in the

19   above-titled case, together with this ex parte application, the

20   memorandum of points and authorities, the declaration of Jeff

21   Mitchell, and this court's sealing order, be kept under seal until

22   the arrest of defendant.

23        6.   Should the Court deny this application, the government

24   requests that the arrest warrant, complaint, and supporting affidavit

25   in this case and this application not be filed, but be returned to

26   the government, without filing of the documents or reflection of the

27   name or nature of the documents on the clerk's public docket.

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 1           I declare under penalty of perjury under the laws of the United

 2   States of America that the foregoing is true and correct and that

 3   this declaration is executed at Los Angeles, California, on May 14,

 4   2018.

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 6                                                       J   F MITCHELL

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